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                             UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     )     Criminal No. 3:20-07
                                             )
                 v.                          )    WAIVER OF APPEARANCE FOR
                                             )    ARRAIGNMENT (RULE 10(b),
 John McKinney
                                             )    Fed. R. Crim. P.)
                                             )
                          Defendant.         )



              John McKinney
        I,                                                  , charged in an

(indictment)(information) pending in the Western District of Pennsylvania, in violation
                               846
of Title 21           U.S.C.                     , do hereby waive (give up) my right to

appear at an arraignment.

       I acknowledge that I have received a copy of the (indictment)(information) and have

agreed to enter a plea of not guilty.

        I further acknowledge that all pretrial motions must be filed within ten (45) days
of the date of this waiver.


       6-30-20                                       s/ John McKinney
                                                    _______________________________
 DATE__________________
                                                    Defendant


                                                     s/ Steven C. Townsend
                                                    _______________________________
                                                    Counsel for Defendant
